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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO



   IN RE GUNNISON SAGE-GROUSE                                    Civil Action No. 1:15-cv-130- AP
   ENDANGERED SPECIES ACT LITIGATION



                              NOTICE OF ERRATA RE ECF NO. 173



          Federal Respondents submit this Notice of Errata to correct the parties’ Stipulation to

   Stay Civil Actions 15-cv-130 and 15-cv-131 (see ECF No. 173). Federal Respondents

   inadvertently omitted the signature blocks for the Environmental Petitioners – the Center for

   Biological Diversity, Western Watersheds Project, WildEarth Guardians, and Clait E. Braun.

   Attached is the corrected version of the stipulation with all the required signature blocks.



   DATED: April 25, 2018                                 JEFFREY R. WOOD,
                                                         Acting Assistant Attorney General
                                                         SETH M. BARSKY, Chief
                                                         MEREDITH L. FLAX, Assistant Chief
                                                         MARY HOLLINGSWORTH
                                                         JESSICA HELD

                                                         /s/ Rickey D. Turner, Jr.
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                                   CERTIFICATE OF SERVICE

          I hereby certify that today I electronically filed the foregoing with the Clerk of the Court

   using the CM/ECF system, which will send notification of such to the attorneys of record.

                                                        /s/ Rickey D. Turner, Jr.
                                                        RICKEY D. TURNER, JR.




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